
PARKER, Justice.
The United States Court of Appeals for the Eleventh Circuit has certified two questions to this Court pursuant to Rule 18, Ala. R.App. P.

I. Facts and Procedural History

In Davis v. Alabama Education Ass’n, 92 So.3d 737 (Ala.2012), this Court summarized the facts underlying this litigation:
“Employees of the State of Alabama are paid through the office of the comptroller. Subject to certain conditions, § 36-1-4.3, Ala.Code 1975, provides that the comptroller may make deductions from the salary of a State employee upon the employee’s request. Specifically, § 36-l-4.3(a), Ala.Code 1975, provides:
. “‘The state Comptroller shall adopt statewide policies which provide for deductions from the salaries of state employees or groups of state employees whenever a request is presented to the state Comptroller by a group of participating state employees equal in number to at least 200 provided, however, that deductions being made as of April 23, 1985, shall continue to be made. The deductions shall be made at least monthly and shall be remitted to the appropriate company, association, or organization as specified by the employees. The deductions may be made for membership dues, and voluntary contributions, and insurance premiums. Any deduction provided under the provisions of this section may be terminated upon two months’ notice in writing by a state employee to the appropriate company, association, or organization and to the appropriate payroll clerk or other appropriate officials as specified by the state Comptroller.’
“Section 36-1-4.4, Ala.Code 1975, prescribes other procedures relating to the *268salary deductions authorized in § 36-1-4.3:
“ ‘The policies adopted by the state Comptroller for deductions from the salaries of state employees or groups of state employees for employee organizations shall provide that the deductions for membership dues and voluntary contributions shall be made based on membership lists and forms provided by the employees’ organization. Such lists are to be corrected and revised annually according to procedures to be established by the state Comptroller. Membership dues and voluntary contributions currently authorized shall continue on an annual basis for the current yearly period and for each succeeding yearly period unless the employee revokes the deduction in writing within 10 days of the next succeeding yearly period. Voluntary contributions may be revoked by giving a 30-day notice in writing. New authorizations shall be permitted on a monthly basis according to procedures to be established by the state Comptroller. Upon leaving state service whether by death, retirement, termination, resignation, leave of absence or other means, payroll deduction of dues and authorized voluntary deductions shall cease. When an employee returns to state service from an approved leave of absence or other temporary leave, payroll deductions and voluntary contributions shall resume unless the employee revokes the deductions in writing. When amounts have been correctly deducted and remitted by the state Comptroller, the state Comptroller shall bear no further responsibility or liability for subsequent transactions.’
“On July 1, 2010, the comptroller implemented a new policy regarding salary deductions. Under this new policy, the comptroller stopped executing salary deductions designated for contributions to [the Alabama State Employees Association Political Action Committee]; the comptroller continued making deductions designated for the payment of dues to the [Alabama State Employees Association]. Likewise, the comptroller stopped executing salary deductions to a political-action committee affiliated with the Alabama State Troopers Association. Portions of an employee’s salary no longer deducted as a result of this policy change were included in the employee’s paychecks.
“The comptroller’s change in the manner of executing salary deductions caused the AEA [the Alabama Education Association] to inquire of the comptroller whether a similar policy change in deductions would be made as to the salaries of State employees who elected to have contributions deducted for the benefit of the AEA. In conjunction with this inquiry, the comptroller was made aware that a portion of the deductions then being made for the benefit of the AEA were in turn contributed by the AEA to A-VOTE [AEA’s political-action committee, Alabama Voice of Teachers for Education], Because the comptroller could not ascertain what portion of the deductions designated for the AEA were passed on to A-VOTE, the comptroller ceased executing all salary deductions designated for the AEA on September 1, 2010.
“The comptroller based the aforesaid changes in the manner of executing salary deductions on his interpretation of the provisions in §§ 36-12-61 and 17-17-5, Ala.Code 1975. Section 36-12-61, Ala.Code 1975, provides:
“ ‘It shall be unlawful for any officer or employee of the State of Alabama to use or to permit to be used any *269state-owned property of any character or description, including stationery, stamps, office equipment, office supplies, automobiles or any other property used by him, in his custody or under his control for the promotion or advancement of the interest of any candidate for the nomination or election to any public office of the State of Alabama.’
“As then codified, § 17-17-5, Ala.Code 1975, provided in part that ‘[n]o person in the employment of the State of Alabama ... shall use any state ... funds, property, or time, for any political activities.’
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“Subsequently, in a special session, the legislature enacted, and the governor signed into law on December 20, 2010, Act No. 2010-761, Ala. Acts 2010 (‘the Act’). The Act amended § 17-17-5, Ala. Code 1975, to explicitly state as follows:
“ ‘(a) No person in the employment of the State of Alabama!, a county, a city, a local school board, or any other governmental agency, whether classified or unclassified,] shall use any state, county, city, local school board, or other governmental agency funds, property, or time, for any political activities.
“ ‘(b) No person in the employment of the State of Alabama!, a county, a city, a local school board, or any other governmental agency] may arrange by salary deduction or otherwise for any payments to a political action committee or arrange by salary deduction or otherwise for any payments for the dues of any person so employed to a membership organization which uses any portion of the dues for political activity....
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“ ‘Any organization that requests the State of Alabama, a county, a city, a local school board, or any other governmental agency to arrange by salary deduction or otherwise for the collection of membership dues from persons employed by the State of Alabama, a county, a city, a local school board, or any other governmental agency shall certify to the appropriate governmental entity that none of the membership dues will be used for political activity. Thereafter, at the conclusion of each calendar year, each organization that has arranged for the collection of its membership dues from persons employed by the State of Alabama, a county, a city, a local school board, or any other governmental agency shall provide the appropriate governmental entity a detailed breakdown of the expenditure of the membership dues of persons employed by the State of Alabama, a county, a city, a local school board, or any other governmental agency and collected by the governmental entity. Any organization that fails to provide the required certifications, that reports any expenditures for political activity, or that files false information about political activity in any of its reports shall be permanently barred from arranging for the collection of its membership dues by any governmental entity. The Examiners of Public Accounts shall annually review a sample of at least 10 percent of the certifications filed with each governmental entity and report its findings to the appropriate governmental entity....’”
*27092 So.3d at 739-43 (footnote omitted).1
On February 25, 2011, the Alabama Education Association (“the AEA”), Alabama Voice of Teachers for Education (“A-VOTE”), and six members of the AEA, namely, Pam Hill, Cathey McNeal, Jeff Breece, Chassity Smith, Dorothy Strickland, and Ronald Slaughter (the AEA, A-VOTE, and the individual members of the AEA are hereinafter referred to collectively as “the AEA plaintiffs”), filed a complaint in the United States District Court for the Northern District of Alabama (“the district court”), naming as defendants Governor Robert Bentley; then State Superintendent of Education Joseph Morton;2 State Comptroller Thomas White; then State Finance Director David Perry;3 then Chancellor of Post-Secondary Education Frieda Hill;4 Madison County District Attorney Robert Broussard; then Lee County District Attorney Nick Ab-bett;5 the Huntsville City Board of Education; the City of Madison Board of Education; and the Madison County Board of Education (hereinafter referred to collectively as “the Newton defendants,” see supra note 3). In the complaint, the AEA plaintiffs challenged the constitutionality of Act No. 2010-761, Ala. Acts 2010 (“the Act”), under the First and Fourteenth Amendments to the United States Constitution:6
On March 18, 2011, two days before the effective date of the Act, the district court issued a preliminary injunction enjoining the Newton defendants from “implementing or enforcing” the Act. The Newton defendants appealed the district court’s issuance of the preliminary injunction to the United States Court of Appeals for the Eleventh Circuit.
On March 23, 2011, the International Association of Fire Fighters (“the IAFF”);' FIREPAC, a political-action committee affiliated with the IAFF; IAFF Local 1349; Paul Cumbaa, a member of both the IAFF and IAFF Local 1349; IAFF Local 3948; Wilburn Cain, a member of both the IAFF and IAFF Local 3948; American Federation of Teachers (“AFT”) Local 2115; AFT Local 2143; AFT Local 4866; AFT Local 6248; Thomas D. Johnson, a member of *271AFT Local 2143; and Cynthia R. Lee, a member of AFT Local 2115 (hereinafter referred to collectively as “the IAFF plaintiffs”), filed a complaint in the United States District Court for the Northern District of Alabama, naming as defendants Governor Robert Bentley; Attorney General Luther Strange; then State Superintendent of Education Joseph Morton;7 then Chancellor of Post-Secondary Education Frieda Hill;8 Reggie Copeland, Sr., Frederick Richardson, Jr., William Carroll, Jermaine A. Burrell, John C. Williams, Bess Rich, and Gina Gregory, who constitute all the members of the Mobile, Aa-bama, City Council; Samuel L. Jones, mayor of the City of Mobile; Ashley M. Rich, district attorney for Mobile County; George Areno, Mark Jones, Truman Norred, Sandra F. Suduth, and Derek Raulerson, who constitute all the members of the Jacksonville, Aabama, City Council; Johnny Smith, mayor of the City of Jacksonville; Brian McVeigh, district attorney for Calhoun County; and the Board of Trustees for Aabama State University (hereinafter referred to collectively as “the Strange defendants”). In the complaint, the IAFF plaintiffs challenged the Act on the same constitutional grounds asserted by the AEA plaintiffs.
On May 20, 2011, the district court in the second action issued a preliminary injunction enjoining the Strange defendants, with the exception of Governor Bentley,9 from enforcing the Act. The Strange defendants appealed the district court’s issuance of the preliminary injunction to the United States Court of Appeals for the Eleventh Circuit; that court consolidated the Strange defendants’ appeal with the Newton defendants’ appeal.
On December 23, 2011, the Eleventh Circuit Court of Appeals narrowed the scope of the preliminary injunctions entered by the district court, stating, in relevant part:
“[W]e believe it is appropriate to narrow the district court’s injunction in the interim. In its memorandum opinion, the district court issued a preliminary injunction barring the Act’s enforcement in toto. However, a state’s restriction on payroll deductions for organizations engaged in electioneering activities would likely be found constitutional under Ysursa [v. Pocatello Education Ass’n, 555 U.S. 353 (2009)]. To the extent the state limits its enforcement of the Act in this way, it may proceed. The preliminary injunction remains in place as to enforcement that extends beyond that range of conduct.”
Alabama Educ. Ass’n v. State Superintendent of Educ., 665 F.3d 1234, 1239 (11th Cir.2011).
In the same opinion, the Eleventh Circuit Court of Appeals stated:
*272“Thus, the question before this court in the present case turns entirely on how the Act is interpreted. If it is meant only to reach payroll deductions for organizations engaged in electioneering activities ..., then it presents no constitutional problems. A statute with a broader reach may implicate First Amendment concerns.... It has long been our practice that ‘[substantial doubt about a question of state law upon which a particular case turns should be resolved by certifying the question to the state supreme court.’ Jones v. Dillard’s, Inc., 331 F.3d 1259, 1268 (11th Cir.2003) (citing Moreno v. Nationwide Insur. Co., 105 F.3d 1358, 1360 (11th Cir.1997)). There is a high likelihood that the Supreme Court of Alabama’s interpretation of the Act will resolve this matter; therefore, the state courts should have the opportunity to address this issue in the first instance, particularly since it is one so closely tied to statewide political reforms. We conclude sufficient cause exists to certify a question to the Alabama Supreme Court with respect to the scope of the Act.”
Alabama Educ. Ass’n, 665 F.3d at 1238 (footnote omitted).
The Eleventh Circuit Court of Appeals certified to this Court the following questions regarding the scope of the Act:10
“1. Is the ‘or otherwise’ language in the [Act] limited to the use of state mechanisms to support political organizations, or does it cover all contributions by state employees to political organizations, regardless of the source? “2. Does the term ‘political activity* refer only to electioneering activities?”
Alabama Educ. Ass’n, 665 F.3d at 1238.
The parties have filed thorough, well written briefs on the certified questions, see Rule 18(g), Ala. R.App. P., and this Court heard oral argument on October 1, 2012, see Rule 18(h), Ala. R.App. P.

II. Rules of Statutory Construction

The certified questions in this matter require us to determine the scope of certain provisions of the Act; thus, we are mindful of the well settled rules of statutory construction.
“ ‘ “ ‘It is this Court’s responsibility to give effect to the legislative intent whenever that intent is manifested. State v. Union Tank Car Co., 281 Ala. 246, 248, 201 So.2d 402, 403 (1967). When interpreting a statute, this Court must read the statute as a whole because statutory language depends on context; we will presume that the Legislature knew the meaning of the words it used when it enacted the statute. Ex parte Jackson, 614 So.2d 405, 406-07 (Ala.1993). Additionally, when a term is not defined in a statute, the commonly accepted definition of the term should be applied. Republic Steel Corp. v. Horn, 268 Ala. 279, 281, 105 So.2d 446, 447 (1958). Furthermore, we must give the words in a statute their plain, ordinary, and commonly understood meaning, and where *273plain language is used we must interpret it to mean exactly what it says. Ex parte Shelby County Health Care Auth., 850 So.2d 332 (Ala.2002).’
“‘“Bean Dredging, L.L.C. v. Alabama Dep’t of Revenue, 855 So.2d 513, 517 (Ala.2003). In addition,
‘ “ ‘ “[t]here is a presumption that every word, sentence, or provision [of a statute] was intended for some useful purpose, has some force and effect, and that some effect is to be given to each, and also that no superfluous words or provisions were used.” ’ ” ’ Surtees v. VFJ Ventures, Inc., 8 So.3d 950, 970 (Ala. Civ.App.2008) (quoting Ex parte Uniroyal Tire Co., 779 So.2d 227, 236 (Ala.2000), quoting in turn other cases).”
“ ‘IEC Arab Alabama, Inc. v. City of Arab, 7 So.3d 370, 375 (Ala.Civ.App. 2008).’
“Green Tree-AL LLC v. Dominion Res., L.L.C., 104 So.3d 177, 179-80 (Ala.Civ. App.2011).”
AltaPointe Health Sys., Inc. v. Davis, 90 So.3d 139,157 (Ala.2012).

III. Dismission


A. Certified Question # 1

“Is the ‘or otherwise’ language in the [Act] limited to the use of state mechanisms to support political organizations, or does it cover all contributions by state employees to political organizations, regardless of the source?”
The portion of the Act relevant to this question provides:
“No person in the employment of the State of Alabama, a county, a city, a local school board, or any other governmental agency may arrange by salary deduction or otherwise for any payments to a political action committee or arrange by salary deduction or otherwise for any payments for the dues of any person so employed to a membership organization which uses any portion of the dues for political activity....”
§ 17 — 17—5(b)(1), Ala.Code 1975 (emphasis added).
The AEA plaintiffs, the IAFF plaintiffs, and amici curiae Alabama State Employees Association (“the ASEA”) and its political-action committee (“SEA-PAC”) (hereinafter referred to collectively as “the plaintiff groups”) argue, in sum, that the “or otherwise” language in the Act is over-broad and that it can be read to prohibit a State employee from paying dues to organizations such as the AEA or from making donations to a political-action committee, even if the State is not involved in facilitating those payments in any manner. Conversely, the Newton defendants and the Strange defendants (hereinafter referred to collectively as “the defendant groups”) argue that the Act may be read to prohibit only State facilitation of payments to organizations such as the AEA and State facilitation of donations to a political-action committee, and, thus, they say, the members of such organizations are free to make payments or donations by private means.
Viewing the language in question in the context of the entire Act leads us to conclude that the Act is meant to prohibit only the use of State mechanisms to support political organizations. We reach this conclusion for the following reasons.
First, we note that in subsection (b) the Act states that groups wishing to utilize payroll deductions must certify that they are not engaging in “political activities.” Specifically, the Act states:
“Any organization that requests the State of Alabama, a county, a city, a local school board, or any other governmental agency to arrange by salary deduction or otherwise for the collection of *274membership dues of persons employed by the State of Alabama a county, a city, a local school board, or any other governmental agency shall certify to the appropriate governmental entity that none of the membership dues will be used for political activity.”
§ 17-17-5 (b)(2), Ala. Code 1975. The above-quoted language is clear in showing that the government, i.e., “the State of Alabama, a county, a city, a local school board, or any other governmental agency,” must be involved in arranging for the payment of the State employee’s membership dues for the Act to apply; therefore, private forms of payment, i.e., forms of payment not facilitated by the government, are not prohibited.
Also, it is noteworthy that the penalties for violating the Act apply only to the organization to which the dues or payments are made and only when the dues or payments are facilitated by the State. Specifically, the Act states:
“Any organization that fails to provide the required certifications [stating that none of the membership dues will be used for political activity], that reports any expenditures for political activity, or that files false information about political activity in any of its reports shall be permanently barred from arranging for the collection of its membership dues by any governmental entity.”
§ 17-17-5(b)(2), Ala.Code 1975 (emphasis added).
Furthermore, prior decisions of this Court show that the phrase “or otherwise” should not to be interpreted as creating an essentially unlimited prohibition against State employees’ arranging for payments to organizations engaged in political activity. Instead, our prior decisions show that the general phrase “or otherwise” should be interpreted as referring only to other matters similar to those specifically stated in the statute being construed, which, in this case, is a “salary deduction.” Put differently, we are required to find that the term “or otherwise” refers not to any manner of payment to organizations engaged in political activity but, instead, refers to any manner of payment to such organizations that is in the nature of a salary deduction. See, e.g., Snider v. Wood, 531 So.2d 864, 866-67 (Ala.1988) (concluding that the phrase “needed to pay taxes or otherwise” meant “to pay taxes or other similar expenses” and noting that, under the rule of ejusdem generis, “general words are not to be construed in their widest extent, but are to be held as applying only to persons or things of the same general kind or class as those specifically mentioned”); Foster v. Dickinson, 293 Ala. 298, 300, 302 So.2d 111, 113 (1974) (“The words, ‘or otherwise’ in law when used as a general phrase following an enumeration of particulars are commonly interpreted in a restricted sense as referring to such other matters as are kindred to the classes before mentioned, receiving ejusdem gen-eris interpretation.” (citing Goode v. Tyler, 237 Ala. 106, 186 So. 129 (1939), and State v. Tyler, 100 Fla. 1112, 130 So. 721 (1930))); and Amos v. State, 73 Ala. 498 (1883) (“The more general words, or otherwise dispose of, following the more specific or particular words, sell, or give away, upon a settled rule of statutory construction, a larger legislative intention not being clearly expressed, must be construed as extending only to a disposition ejusdem generis with a sale or a gift; they are not to be extended to any and every act which may be said to be a disposition.”).
As stated above, “[w]hen interpreting a statute, this Court must read the statute as a whole because statutory language depends on context.” Davis, 90 So.3d at 157. Having considered the Act as a whole, we conclude that the Act is meant to prohibit *275only mechanisms on the part of the State to make payments to political-action committees and membership organizations that use any portion of their members’ dues for political activity; the Act is not meant to prohibit members of such organizations from making payments to those organizations by other mechanisms. Therefore, for purposes of the Act, the phrase “or otherwise” refers to the manner of payment of membership dues to organizations contemplated by the Act only if those payments are processed by the State in a manner similar to a salary deduction.
B. Certified Question # 2
“Does the term ‘political activity’ refer only to electioneering activities?”
As an initial matter, we note that we cannot determine whether the term “political activity” — which we define herein “[f]or purposes of this subsection only,” see § 17 — 17—5(b)(1)—refers to only “electioneering activities” without first understanding the meaning of the term “electioneering,” which has not been defined by our legislature. The Oxford English Dictionary defines “electioneering” as follows: “The art or practice of managing elections; canvassing on behalf of candidates for membership in representative assemblies.” V The Oxford English Dictionary 117 (2d ed. 1989). From the foregoing we may understand electioneering activities to include only those activities that involve working on behalf of or in opposition to candidates for elected offices.
On this issue, the plaintiff groups argue, in sum, that the term “political activity” is unconstitutionally vague and thus establishes an impermissibly expansive reach of the Act. More specifically, the plaintiffs’ groups argue, among other things, that
“[t]he Legislature’s extensive list of the seven types of ‘political activity’ to which subsection (b) applies — and its repeated use of maximalist phrases such as ‘any entity which engages in any form of political communication,’ ‘any form of political communication,’ ‘any type of political advertising,’ ‘phone calling for any political purpose,’ and ‘political literature of any type’ — all establish an expansive reach for the statute, the boundaries of which are unclear.”
AEA plaintiffs’ brief, at 29; see also IAFF plaintiffs’ brief, at 25, and brief of amici curiae, at 24-25. The plaintiff groups further argue that six of the seven categories to which “political activity” is limited as set forth in subsection (b)(l)a.-g. are vague because, they say, those six categories “depend, in a circular fashion, on the undefined adjective ‘political.’ ” AEA plaintiffs’ brief, at 80; see also IAFF plaintiffs’ brief, at 23-24.11 Conversely, the defendant groups argue that the term “political activity” as used in the Act is limited to electioneering activities, i.e., working on behalf of or in opposition to a candidate for elected office.
As noted, the plaintiff groups contend that the language of the Act is overly broad because, they say, six of the seven categories of political activity set forth in subsection (b)(l)a.-g. are, in part, defined by the word “political,” which itself is not defined by the Act. The IAFF plaintiffs contend:
“With a single exception, all of these definitions [of political activity] reference, in a confusing and circular fashion, *276the otherwise undefined adjective ‘political.’ The borders of the term ‘political’ are inherently uncertain because it can apply not only to partisan activities concerning the election or defeat of specific candidates for political office, but also to communications concerning other matters of public significance — including issues of national and local importance such as school and public safety funding, training for public safety officers, or the policies of school officials.”
IAFF plaintiffs’ brief, at 24 (footnote omitted). The AEA plaintiffs’ present a very similar argument, contending:
“The lack of clarity in the definition of ‘political activity’ is exacerbated by the fact that all but one of the subparts of this definition depend, in a circular fashion, on the undefined adjective ‘political’ (and the one that does not — the portion referring to ‘public opinion polling’ — has its own special uncertainties ...).”
AEA plaintiffs’ brief, at 30.
Before examining the seven specific forms of expression or activity listed in paragraphs a. though g. of subsection (b)(1), we note that they are preceded by this statement of the general rule:
“No person in the employment of the State ... may ... arrange by salary deduction or otherwise for any payments for the dues of any person so employed to a membership organization which uses any portion of the dues for political activity.”
(Emphasis added.) It is this “lead-in” language that describes the substantive field — the field of “political” activity — within which the subsequently listed forms of expression are pertinent.
The ASEA and SEA-PAC correctly note that the word “political” has a rather expansive definition in its legal usage. See brief of amici curiae, at 23-24. The word “political” has been defined as follows:
“Pertaining to or relating to the policy or the administration of government, state or national. Pertaining to, or incidental to, the exercise of the functions vested in those charged with the conduct of government; relating to the management of affairs of state, as political theories; of or pertaining to exercise of rights and privileges or the influence by which individuals of a state seek to determine or control its public policy; having to do with organization or action of individuals, parties, or interests that seek to control appointment or action of those who manage affairs of a state.”
Black’s Law Dictionary 1158-59 (6th ed. 1990).12
Thus, the term “political activity,” which precedes the list of seven categories, embraces more than electioneering.13 Nor *277can the language in six of the seven categories to which political activity is limited as set forth in subsection (b)(1) be understood as inconsistent with this conclusion. We note first subparagraphs a. and c., both of which facially encompass more than mere candidate-based advocacy:
“a. Making contributions to or contracting with any entity which engages in any form of political communication, including communications which mention the name of a political candidate.”
“c. Engaging in or paying for any form of political communication, including communications which mention the name of a political candidate.”
By their plain language, subparagraphs a. and c. define political activity, within the context of “political communication,” as “including,” but not limited to, “communications which mention the name of a political candidate.” Stated differently, subpar-agraphs a. and c. may be read as defining political activity to include “[mjaking contributions to or contracting with any entity which engages in any form of political communication,” including political communication that is not in the form of candidate-based advocacy, and “[e]ngaging in or paying for any form of political communication,” again including political communication that is not in the form of candidate-based advocacy. These two subpara-graphs cannot be read as limiting political activity to only electioneering activities.
Furthermore, subparagraph b., which defines political activity as “[ejngaging in or paying for public opinion polling,” cannot be read as encompassing only electioneering activities. Suffice it to say, without any qualifying language, “public opinion polling” could be understood to include polling on issues other than candidate-based ■ advocacy. Subparagraph d., which defines political activity as “[e]ngaging in or 'paying for any type of political advertising in any medium,” also cannot be read as encompassing only electioneering activities. “Political advertising” may take many forms beyond candidate-based advocacy, including, for example, advertising that encourages people to vote for or against a proposed constitutional amendment. Similarly, subparagraph e., which defines political activity as “[p]hone calling for any political purpose,” goes beyond electioneering activities in that “any political purpose” could include the example *278just presented: telephone calling to encourage people to vote for or against a proposed constitutional amendment. In like manner to subparagraphs d. and e., subparagraph f., which defines political activity as- “[distributing political literature of any type,” goes beyond the reach of electioneering activities in that “political literature of any type” could include literature encouraging people to vote for or against a proposed constitutional amendment.14
Based on the foregoing, we conclude that the term “political activity,” as used in. the Act, is not limited to activity on behalf of or in opposition to candidates for elected offices, i.e., electioneering activities. Put simply, the plain language of subsection (b)(l)a.-f. describes political activity in terms that cannot be understood to limit that activity to electioneering activity.15

TV. Conclusion

We answer the first certified question in the affirmative and the second in the negative. Our answers to the questions certified to this Court may be summarized as follows:
1. The “or otherwise” language in the Act is limited to the use of State mechanisms to make payments to organizations that use at least some portion of those payments for political activity.
2. The term “political activity” is not limited to electioneering activities, i.e., activities undertaken in support of candidates for elected offices.
We reiterate that our construction of the term “political activity” applies only as that term is used and expressly “limited ” in subsection (b)(1) of the Act, and this construction of the term “political activity” is not intended to be applied beyond the narrow “limited” parameters of subsection (b)(1).
QUESTIONS ANSWERED.
STUART, WISE, and BRYAN, JJ., concur.
MURDOCK, J., concurs specially.
SHAW, J., concurs in the result.
MOORE, C.J., and BOLIN, J., concur in part- and dissent in part.
MAIN, J., recuses himself.

. In Davis v. Alabama Education Ass’n, the AEA and other plaintiffs sued the state finance director and the state comptroller, seeking declaratory relief and a permanent injunction forcing the comptroller to resume the previous practice of executing salary deductions' designated for the AEA. The Montgomery Circuit Court entered a preliminary injunction against the finance director and the comptroller, who then appealed to this Court. For reasons not relevant to the present litigation, we dismissed the appeal as moot, vacated the circuit court's preliminary injunction, and remanded the case for the circuit court to dismiss the action.


. Thomas Bice replaced Joseph Morton as a defendant when Bice became state superintendent of education.


. Bill Newton replaced Marquita Davis, who, in turn, had replaced David Perry, as a defendant when Newton became acting state finance director.


. Mark Heinrich replaced Susan Price, who, in turn, had replaced Frieda Hill, as a defendant when Heinrich became the chancellor of post-secondary education.


. Robert T. Treese III replaced Nick Abbett as a defendant when Treese became Lee County District Attorney.


. The district court subsequently allowed a complaint in intervention to be filed by the Alabama State Employees Association ("the ASEA"); the ASEA’s political-action committee ("SEA-PAC”); Randy Hebson, president of the ASEA; Edwin J. McArthur, executive director of the ASEA; and Larry Sanders, JoAnne Brown, and John Allen, all of whom are or were state employees, ASEA members, and SEA-PAC contributors. The intervenor plaintiffs asserted the same constitutional challenges ' that were asserted in the AEA plaintiffs’ complaint.


. See supra note 2.


. See supra note 4.


. With regard to Governor Bentley, the district court stated:
"Governor Bentley raises some potentially valid arguments that this court does not have subject matter jurisdiction over the claims that plaintiffs assert against him. It would be inappropriate to enter an injunction requiring Governor Bentley to act, or to refrain from acting, when subject matter jurisdiction over plaintiffs’ claims against the Governor is uncertain. Accordingly, the preliminary injunction that will be entered contemporaneously herewith will restrain the conduct of all defendants except Governor Bentley. If the court later determines that it does have subject matter jurisdiction over the claims against Governor Bentley, the injunction will be extended to apply to him.”
Alabama Educ. Ass’n v. Bentley, 788 F.Supp.2d 1283, 1287 n. 1 (N.D.Ala.2011).


. Rule 18(a), Ala. R.App. P., provides:
“When it shall appear to a court of the United States that there are involved in any proceeding before it questions or propositions of law of this State which are determinative of said cause and that there are no clear controlling precedents in the decisions of the Supreme Court of this State, such federal court may certify such questions or. propositions of law of this State to the Supreme Court of Alabama for instructions concerning such questions or propositions of state law, which certified question the Supreme Court of this State, by written opinion, may answer.”


. The ASEA and SEA-PAC argue that ‘‘[t]he word 'political' itself includes both forms of advocacyC issue advocacy and candidate advocacy].” Brief of amici curiae, at 23 (citing the definition of the word "political” as set forth in Black’s Law Dictionary 1158 (6th ed. 1991)).


. Although Black’s Law Dictionary is not binding legal authority, see, e.g., State v. Knoe-chel (No. CA84-10-074, March 11, 1985) (Ohio Ct.App.1985) (not reported in N.E.2d or Ohio App.), it has been referred to as "a well-accepted, highly utilized, and much respected legal dictionary.” Heindlmeyer v. Ottawa Cnty. Concealed Weapons Licensing Bd., 268 Mich.App. 202, 221, 707 N.W.2d 353, 364 (2005). See also Mabry v. Superior Court, 185 Cal.App.4th 208, 233, 110 Cal.Rptr.3d 201, 220 (2010) (referring to Black's Law Dictionary as "venerable”), and Blue Diamond, Inc. v. Liberty Mut. Ins. Co., 21 F.Supp.2d 631, 636 (S.D.Miss.1998) (same).


. The Chief Justice’s special writing finds that the language of Ala.Code 1975, § 17-1-4, provides the definition of "political activity,” i.e., "endorsing candidates and contributing to campaigns,” and that the word "including,” which immediately precedes the phrase "endorsing candidates and contributing to campaigns” in § 17-1-4, actually "restricts" any other like things that are not listed thereafter. However, 2A Norman J. Singer and J.D. Shambie Singer Statutes and Statutory Construction § 47:23 (7th ed. 2007), states: "When ‘include’ is utilized, it is generally improper to conclude that entities not specifi*277cally enumerated are excluded." Additionally, the United States Court of Appeals for the District of Columbia Circuit has stated that "[i]t is hornbook law that the word ‘including’ indicates that the specified list ... that follows is illustrative, not exclusive.” Puerto Rico Maritime Shipping Auth. v. I.C.C., 645 F.2d 1102, 1112 n. 26 (D.C.Cir.1981) (quoted in Bryan A. Garner, Garner’s Dictionary of Legal Usage 439 (3d ed. 2011)). Furthermore, this Court has explained "that the word ‘ "including” is not to be regarded as limita-tional or restrictive, but merely as a particular specification of something to be included or to constitute a part of some other thing.' " Southeastern Meats of Pelham, Inc. v. City of Birmingham, 895 So.2d 909, 913 (Ala.2004) (quoting Sims v. Moore, 288 Ala. 630, 635, 264 So.2d 484, 487 (1972)). Moreover, in Antonin Scalia &amp; Bryan A. Garner, Reading Law: The Interpretation of Legal Texts 132 (2012), it is explained that
"[i]n normal English usage, if a group ‘consists of’ or ‘comprises’ 300 lawyers, it contains precisely that number. If it ‘includes’ 300 lawyers, there may well be thousands of other members from all walks of life as well. That is, the word include does not ordinarily introduce an exhaustive list.... That is the rule both in good English usage and in textualist decision-making. Some jurisdictions have even codified a rule about include."
(Footnotes omitted; emphasis in original.) Therefore, although "endorsing candidates and contributing to campaigns” can fairly be said to fall within the meaning of "political activity,” those activities do not define or limit the full reach of "political activity” as it used in the Act.


. Subparagraph g., which defines political activity as “[p]rovidmg any type of in-kind help or support to or for a political candidate," appears to be the only category of political activity in subsection (b)(l)a.-g. that encompasses only electioneering activity.


. As to the political activity described in subparagraph g., see supra note 14.

